                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

SHARON A. PALELEI,                    )
                                      )
                          Plaintiff,  )
                                      )
v.                                    )                          Case No. 4:13-cv-00223-DW
                                      )
MUSICIAN’S FRIEND, INC., et al.,      )
                                      )
                          Defendants. )

                              REPLY IN SUPPORT OF
                 DEFENDANTS’ SECOND PARTIAL MOTION TO DISMISS

        Plaintiff’s Opposition to Defendants’ Second Partial Motion to Dismiss leaves a single

legal issue for the Court: Whether Plaintiff’s assertion of a disability based termination claim in

her administrative charge exhausted her claim – asserted for the first time in her Complaint – for

failure to accommodate based on disability. It does not.

        Plaintiff’s Opposition clarified the claims she seeks to assert and made several

concessions.     She conceded that the only gender claim before the Court is discriminatory

termination.1 (Opposition, Dkt. 23 at 2-3, Section II.B) She next conceded that the single claim

asserted in Count III is for retaliatory termination. (Id. at 3-4, Section II.C) She also conceded

that Bryan Huffman is improperly named as a defendant, and all claims against him should be

dismissed. (Id. at 10, Section II.E)

        What remains at issue and requires the Court’s attention is Count II. Plaintiff explained

that Count II asserted only claims for discriminatory termination based on disability and for


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  While Plaintiff asserts the concession as an argument that Defendants’ Motion was unnecessary, the ambiguity of
her Amended Complaint (as outlined in Defendant’s Motion) rendered the Motion necessary to define what is before
the Court. (Memorandum, Dkt. 18 at 3, Section III.A) Plaintiff’s Opposition fails to explain how Defendants or the
Court were to know which allegations she intended to assert independent claims and which she did not.




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failure to accommodate based on disability. Her accommodation claim, however, was not

asserted in her administrative charge and, accordingly, is barred for failure to exhaust. Plaintiff,

however, argued otherwise. She first argued that her accommodation and termination claims are

factually “inextricably intertwined.” She then argued that her accommodation claim meets the

“like or reasonably related to” exception to exhaustion in that it is “like or reasonably related to”

her termination claim and, therefore, was exhausted by virtue of exhaustion of her termination

claim. Lastly, she argued that her attorney’s demand letter exhausted the accommodation claim.

Defendants demonstrate herein that each of Plaintiff’s arguments lacks merit.




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A.        The Amended Complaint Demonstrates That Plaintiff’s Accommodation and
          Termination Claims Are Not Factually “Inextricably Intertwined.”

          Plaintiff characterized her accommodation and termination claims as “inextricably

intertwined” and asserted that Defendants’ “decision to discharge [her] was, in effect, a refusal to

provide her the accommodation of further time off.”                (Dkt. 23, Opposition at 6-7) Plaintiff

points to Count II, Paragraph 150 of her Amended Complaint, which is a statement of two

distinct claims joined by the conjunction “and”:2

          150. Defendants refused to provide reasonable accommodations for the known
          disability of Palelei, and terminated Palelei’s employment on the basis of her
          disability in violation of R.S.Mo. § 213.010 et seq.

(Dkt. 16, AC ¶ 150 (emphasis added)) While Count II does not describe the factual allegations

supporting the conclusions asserted, paragraphs 116-129 of the Amended Complaint do. Those

allegations also demonstrate that Plaintiff is pleading two factually distinct incidents of alleged

discrimination. Plaintiff specifically alleged the following facts that are accepted as true for

purposes of this Motion:

          ●       On August 31, 2011, Defendant Willey called Plaintiff and requested the current
                  status of her medical condition and return to work. (Dkt. 16, AC ¶¶ 116-117)

          ●       On the August 31, 2011 call, Plaintiff told Defendant Willey that “she just left her
                  physician’s office, and that she was authorized to return to her regular duties on
                  September 12, 2011.” (Id. at ¶ 120)

          ●       On the August 31, 2011 call, Defendant Willey told Plaintiff that her requested
                  return date was “unacceptable,” and that if Plaintiff did not show up for work the
                  next day, Defendant would take it as a “voluntary resignation from employment.”
                  (Id. at ¶¶ 121, 123)

          ●       Plaintiff did not return to work the next day, and she was not terminated. (Id. at
                  ¶¶ 124-126)


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  Notably, this Paragraph is not unlike Paragraphs 137, 149, and 159, which Plaintiff claims were not intended to
assert independent claims. Yet, it remains unclear how either Defendants or the Court were to determine which
paragraphs were intended to assert a claim and which were not.




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          ●       Plaintiff was not terminated until September 8, 2011. (Id. at ¶¶ 124-127)

          ●       Defendant MFI informed Plaintiff that she was terminated as related to her
                  September 6, 2011 absence, not for a September 1, 2011 absence. (Id. at ¶ 129)

In sum, Plaintiff alleged that she was notified her request for accommodation had been denied on

August 31, 2011, but that she was not terminated until a full week later on September 8, 2011.

Thus, these claims are not factually “intertwined” – Plaintiff does not allege the adverse

decisions were made or effectuated on the same date.

          Furthermore, no allegation in the Charge would even remotely suggest her termination

claim involved a need for accommodation, a request for accommodation, a denial of

accommodation, or was related in any way to an accommodation. In fact, her Charge identifies a

disability as an alternative basis for her termination – not even as a definite basis, and no medical

condition is identified in the Charge:

          I contend that I was discriminated against by my former employer, the Musician’s
          Friend, Inc., and my supervisors, Mr. Bryan Huffman, and Mr. Anthony
          Richardson, based on my gender and/or disability. The most recent act of
          discrimination and retaliation occurred on September 8, 2011, when I was
          terminated from employment.

(Dkt. 18-1 at 2 (emphasis added)) Plaintiff’s newfound accommodation claim factually is

distinct from her termination claim and concerns a medical condition that is not identified in her

Charge, a request for accommodation that is not alleged in her Charge, absences that are not

alleged in her Charge and a refusal to grant accommodation that is not alleged in her Charge.

Importantly, the Charge does not even implicate an accommodation claim, which requires a

different liability analysis from a disparate treatment claim. Martz v. Presbyterian Homes &

Servs., 2011 U.S. Dist. LEXIS 78712, 21-23 (D. Minn. June 22, 2011) (recommending dismissal

of unexhausted accommodation claim where only termination was asserted in the administrative

charge) (citing Knutson v. Medtronic, Inc., 05-180, 2006 U.S. Dist. LEXIS 45604, 2006 WL



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1851142 *9 (D. Minn. July 3, 2006). Plaintiff’s accommodation claim is not “inexplicably

intertwined” with Plaintiff’s termination claim; rather, each claim is separate and distinct.

B.         The “Like Or Reasonably Related” Exception To Exhaustion Appears To Have
           Been Abrogated In The Eighth Circuit By Richter, Which Is Persuasive In Missouri
           State Court.3

           Defendants’ Memorandum explained that an unexhausted claim is not viable in the

Eighth Circuit based on the holdings of National Railroad Passenger Corp. v. Morgan, 536 U.S.

101, 113 (2002) (each discrete incident of discrimination must be exhausted), Richter v. Advance

Auto Parts, Inc., 686 F.3d 847, 851 (8th Cir. 2012), cert. dismissed, 133 S. Ct. 1491 (2013)

(“[e]ach discrete act [of discrimination] is a different unlawful employment practice for which a

separate charge is required”), and Reed v. McDonald’s Corp., 363 S.W. 3d 134, 143 (Mo. Ct.

App. 2012) (“[i]n order to exhaust all administrative remedies, the claimant must give notice of

all claims in the administrative complaint”).4 The Missouri Court of Appeals held accordingly in

Tisch v. DST Systems, Inc., 368 S.W.3d 245, 253-55 (Mo. Ct. App. 2012).                                  These cases

independently and collectively hold that an unexhausted claim, such as Plaintiff’s

accommodation claim, is not viable.5 Plaintiff’s Opposition, however, neither acknowledged,

distinguished, nor otherwise addressed the cases relied upon by Defendants. Instead, Plaintiff –

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    See Dkt. 18, fn. 3; see also, Tisch v. DST Sys., Inc., 368 S.W.3d 245, 253-55 (Mo. Ct. App. 2012).
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   Notably, Plaintiff relies on Reed to provide the exhaustion standard. Reed supports Defendants’ position that
Plaintiff failed to exhaust her accommodation claim. Reed filed charges with the MCHR that focused on sexual
harassment by her supervisor and then in court claimed constructive discharge. The court found that Reed had
“failed to exhaust her administrative remedies when she failed to include any facts [in her charge] reasonably related
to a claim of constructive discharge.” 363 S.W.3d at 144. She, accordingly, was barred from pursuing a claim for
constructive discharge in court.
5
   The Tenth Circuit expressly has held that the “like or reasonably related to” standard is inconsistent with the
requirement that all discrete acts of employment discrimination be exhausted, and the “like or reasonably related to”
exception to exhaustion no longer applies in the Tenth Circuit. Annett v. Univ. of Kan., 371 F.3d 1233, 1238
(10th Cir. 2004); Dunlap v. Kan. Dep’t of Health and Env’t, 127 Fed. Appx. 433, 438 (10th Cir. 2005); Harris v.
Cmty. Res. Counsel, No. 04-2578, 2006 U.S. Dist LEXIS 35146, 2006 WL 1360080 at *19-20 (D. Kan. May 16,
2006).




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without explanation – relied on the “like or reasonably related to” exception to the exhaustion

requirement.

C.        Plaintiff’s Accommodation Claim Is Not “Like Or Reasonably Related To” Her
          Termination Claim.

          Even if the “like or reasonably related to” exception remains viable, Plaintiff’s

accommodation claim is not within that exception. While the Eighth Circuit has not addressed

whether a disability termination claim administratively exhausts a disability accommodation

claim, the Sixth, Seventh and D.C. Circuits have held that an accommodation claim is separate

and distinct from a disparate treatment claim based on disability. Jones v. Sumser Retirement

Vill., 209 F.3d 851, 853 (6th Cir. 2000) (accommodation and termination); Green v. Nat’l Steel

Corp., 197 F.3d 894, 898 (7th Cir. 1999) (accommodation and termination); Marshall v. Fed.

Express Corp., 130 F.3d 1095, 1098 (D.C. Cir. 1997) (accommodation and failure to promote).

The Eastern District of Missouri considered exhaustion of an accommodation claim in

Hammonds v. Union Elec. Co., No. 4:11-cv-1476, 2011 U.S. Dist. LEXIS 138702, at *5-6 (E.D.

Mo. Dec. 2, 2011), and held that the plaintiff had not preserved an accommodation claim where

his administrative charge did not allege a failure to accommodate, but rather (like Plaintiff here)

merely checked the disability box on his charge and stated that he was discriminated against due

to his disability. Plaintiff did not acknowledge, must less distinguish, these holdings.

          Plaintiff did not direct the Court to any Supreme Court authority, circuit court case,

district court case within the Eighth Circuit, or Missouri state court case that found an

accommodation claim “like or reasonably related to” a termination claim. Instead, Plaintiff

relied on three district court cases from outside the Eighth Circuit to support her argument. Each

is distinguished below:




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          First, she relied on Davis v. American Drug Stores, Inc., No. 1:01-cv-03704, 2003 WL

21149063, at *3 (N.D. Ill. May 19, 2003). Her reliance is misplaced. Unlike Plaintiff’s generic

charge, the Davis charge was specific and asserted facts supportive of an accommodation claim:

the administrative charge asserted disability as the sole basis of discrimination, specifically

identified asthma as her disability and alleged that she had an asthma attack at work, that she had

been hospitalized, that she was in a coma for a period, and that the employer terminated her

before she was able to return to work.6 The court found Davis’ accommodation claim was a

“mirror image” of her discharge claim. Unlike in Davis, here, Plaintiff’s generic charge is not at

all like her 172-paragraph Amended Complaint. Her Charge did not identify either a medical

condition, absences due to a medical condition, a needed accommodation, or a request for or

denial of accommodation. Davis, accordingly, is not analogous to the facts before the Court and

does not support Plaintiff’s argument.

          Next, Plaintiff relied on Wamack v. Windsor Park Manor, 836 F. Supp. 2d 793 (N.D. Ill.

2011), which relied exclusively on Davis. In Wamack, the plaintiff alleged in court that his

employer had “terminat[ed] him without taking his requests for accommodation into account,”

and the court found that the investigation of his charge would likely lead to investigation of the

failure to accommodate claim. Id. at 799. His charge alleged,

          I began my employment with Respondent in 1992. My most recent position was
          Maintenance Technician. During my employment, I took a leave of absence

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    Davis’ administrative charge states (Case no. 1:01-cv-03704, Doc #1, p. 7):
                   I. I was hired by Respondent on February 9, 1999 and my position was Clerk III. I had
          an asthma attack after work hours on June 5, 1999. My mother maintained contact with my
          Supervisor while I was hospitalized during my coma. After I regained consciousness I gave
          Respondent doctor’s notices of my return to work date. I informed Respondent of my return date
          in July 1999, however, I was discharged.
                   II. I was told that I was terminated on June 5, 1999.
                   III. I believe I was discriminated against because of my disability, in violation of the
          Americans with Disabilities Act of 1990, as amended, in that I was discharged.




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          related to my medical condition. Respondent refused to rehire me upon
          completion of leave. I believe I have been discriminated against because of my
          disability, in violation of the Americans with Disabilities Act of 1990, as
          amended.

Wamack, accordingly, is like Davis and readily distinguished from this matter where Plaintiff’s

Charge simply, generically asserted a termination claim with no reference to medical conditions,

absences, a need for leave or a request for or denial of leave.

          Lastly, Plaintiff relied on Moore v. Hexacomb Corp., 670 F. Supp. 2d 621, 625 (W.D.

Mich. 2009), which also is unlike this matter. In Moore, the plaintiff’s administrative charge

asserted an accommodation claim, not a termination claim – so it is the opposite issue being

addressed, i.e., whether exhaustion of an accommodation claim “relates to” a termination claim.

Moore also is distinguished because (a) the employee alleged permanent restrictions while

Plaintiff claims she could have returned to work within two weeks and (b) the employee was told

to go home while Plaintiff was told to return to work. See supra at 3 (bullets). The court

concluded that because of the permanent nature of the plaintiff’s restrictions, the plaintiff’s

failure to accommodate and the termination “effectively occurred” on the same date, i.e., the date

he was told to go home because he had permanent restrictions. Moore acknowledged and

distinguished the Sixth Circuit’s holding in Jones, 209 F.3d 851, 853 (6th Cir. 2000) (rejecting

argument that accommodation claim was “like or reasonably related to” termination claim)

where the failure to accommodate and termination occurred on different dates – like Plaintiff’s

inarguably did.7 See supra at 3 (bullets). Moore, accordingly, does not support Plaintiff’s

argument because Plaintiff’s claims did not “effectively” or otherwise occur on the same date.

Each is a separate, discrete, alleged incident of discrimination.
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   Moore had not been terminated until after he had received his right to sue. Thus, Moore’s inclusion of a
termination claim in his charge would have been premature. Here, Plaintiff filed her charge four months after her
termination and necessarily was aware of and could have asserted her accommodation claim in the original Charge if
she wished to pursue it.



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          In sum, Plaintiff failed to address the cases relied upon by Defendants, and the cases she

relied on do not support her claims. Defendants believe Morgan and its prodigy, including

Tisch, 368 S.W.3d at 253-55, abrogate the “like or reasonably related to” exception, which alone

bars Plaintiff’s accommodation claim. However, even if the Court finds otherwise or does not

reach that argument, the “like or reasonably related to” exception does not apply to the facts

before the Court. Plaintiff’s Charge merely generically, conclusorily, alternatively asserted a

termination claim based on disability, and her Amended Complaint demonstrates that the adverse

accommodation and termination decisions occurred on separate and distinct dates and those

claims involve separate and distinct facts.

D.        An Attorney’s Demand Letter Is Not An Exception To Exhaustion.

          Plaintiff’s final argument lacks a basis in the law. Plaintiff argued that a demand letter

(“Demand”) from her counsel to Defendants provided sufficient notice to satisfy administrative

exhaustion. Plaintiff asserted an unavailing argument that the Demand met the purposes of the

MHRA by providing Defendant notice of a potential accommodation claim.                    (Dkt. 23,

Opposition at 8-9) Her argument renders the administrative process unnecessary, is contrary to

case law and the MHRA, and should be rejected outright.

          The Court should exclude the Demand pursuant to Rule 12(d). (Dkt. 23-1) Defendants’

Motion solely concerns administrative exhaustion. The Demand is not encompassed in the

pleadings and is extraneous to the administrative process and, thus, was improperly submitted

with Plaintiff’s Opposition. Plaintiff does not claim she submitted it to the MHRC or EEOC or

that it was otherwise part of the administrative process; it was not. Plaintiff also does not explain

her extensive redaction of the Demand. (Dkt. 23-1, p. 8-9) The Demand was not submitted to

Defendants during Plaintiff’s employment, but rather is dated January 4, 2012, four months after




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Plaintiff’s September 8, 2011 termination. The Demand offers nothing to assist the Court in its

analysis.

          In her argument otherwise, Plaintiff relied on dicta in Alhalabi v. Missouri Dept. of

Natural Resources, 300 S.W.3d 518, 526 (Mo. Ct. App. 2009), and argued that any deficiency in

her Charge was remedied by her Demand. Plaintiff claimed that Alhalabi held that because the

plaintiff had filed an internal complaint with his employer describing the alleged discrimination

in greater depth than in his administrative charge, any failure by Alhalabi to exhaust his

administrative remedies did not deprive his employer of notice of his claims.            (Dkt. 23,

Opposition, p. 8-10)      This misstates the holding of Alhalabi.     The court first found that

“Alhalabi’s Charge of Discrimination adequately allege[d] a claim for hostile work

environment.”      300 S.W.3d at 526.     The court quoted the lengthy, detailed charge, and

emphasized that the charge alleged – not discrete acts of discrimination (as in this matter) – but

rather a continuing violation, and “repeatedly allude[d] to ‘previous complaints.’” 300 S.W.3d at

525-26. Then, the court continued on to state in dicta that even if Alhalabi failed to exhaust his

administrative remedies, such failure did not deprive defendant of notice because an internal

complaint Alhalabi had filed with his employer described the alleged pervasive discrimination.

Id.

          The court’s analysis highlights how Alhalabi readily is distinguished from Plaintiff’s

claims.      Alhalabi concerned a “continuing violation” rather than discrete incidents of

discrimination – as placed at issue in Plaintiff’s Amended Complaint. Morgan explained the

significant difference in analysis of exhaustion of a continuing violation (or harassment claim) as

compared to exhaustion of discrete incidents of discrimination. 536 U.S. at 113. Each discrete

incident of discrimination must be exhausted while the law does not require each evidentiary




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event supporting a harassment claim to be exhausted. Thus, even if the dicta in Alhalabi were

controlling, the facts are very different than those before the Court.

          Furthermore and perhaps more fundamentally, the MHRA requires charges to be verified.

See Mo. Rev. Stat. § 213.075.1. The Demand was not verified by Plaintiff, and courts have

rejected factual recitations provided by counsel in the administrative process, and Plaintiff does

not even claim to have submitted the Demand to EEOC or the MHRC. Nonetheless, although

“an attorney may file an EEOC charge on behalf of a client, the attorney’s signature alone will

not constitute verification if the attorney does not personally swear to the truth of the facts stated

in the charge and does not have personal knowledge of those facts.” Davenport v. Asbury, Inc.,

No. 3:12-CV-445, 2013 U.S. Dist. LEXIS 45438, at *15 (E.D. Tenn., Mar. 29, 2013) (citing

Butler v. Greif, Inc., 325 Fed. App’x 748, 749 (11th Cir. 2009)). Neither Plaintiff nor her

attorney personally swore to the truth of the facts contained in the letter, and thus, it is

insufficient to exhaust any administrative remedies. See id.

          Lastly, the inclusion of the Demand further demonstrates that Plaintiff knew of a

potential accommodation claim and elected not to assert an accommodation claim in her

administrative Charge. The Demand reflects a date of January 4, 2012. (See Dkt. 23-1) Her

Charge of January 6, 2012 post-dates the Demand. Prior to filing her Charge, Plaintiff’s counsel

had conducted sufficient investigation to prepare the six-page Demand to Defendant MFI. (Id.)

It appears Plaintiff deliberately elected not to assert an accommodation claim in the Charge, and

now has reconsidered that decision. The law, however, does not permit Plaintiff to pursue a

failure to accommodate claim at this late date.

                                            Conclusion

          For the aforementioned reasons, Defendants Musician’s Friend, Inc., Bryan Huffman and

Pamela J. Willey respectfully request that Plaintiff’s claims under the MHRA, other than for


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discriminatory termination based on gender, for discriminatory termination based on disability

and for retaliatory termination under the MHRA, be dismissed with prejudice and that Defendant

Bryan Huffman be dismissed for failure to state a claim upon which relief may be granted, and

for any other relief the Court deems proper.

                                                  Respectfully submitted,

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                                                  HUFFMAN, AND PAMELA J. WILLEY



                                CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on this 15th day of May, 2013, the foregoing
document was electronically filed with the clerk of the court by using the CM/ECF system,
which will send a notice of electronic filing to all counsel of record.


                                                  /s/ Karen K. Cain
                                                  Attorney for Defendants Musician’s Friend,
                                                  Inc., Bryan Huffman, and Pamela J. Willey




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